Case 17-35762-KLP               Doc 15   Filed 01/23/18 Entered 01/23/18 09:25:48         Desc Main
                                         Document     Page 1 of 1

                                UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF VIRGINIA
                                        Richmond  Division
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,QUH Gregory
                 Jeffery,
               Ridell      Sr.                       &DVH1R 17-35762-KLP
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                                    ORDER OF DISMISSAL
                   FOR FAILURE TO ATTEND MEETING OF CREDITORS
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VFRXQVHOKDs not
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DQGLWLVIXUWKHU
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                                                    /s/ C. Baumgartner
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